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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                          )
                                                   )                   8:15CR206
                       Plaintiff,                  )
                                                   )
       vs.                                         )                    ORDER
                                                   )
MARIA ELENA MACIAS-RIOS,                           )
                                                   )
                       Defendant.                  )
       This matter is before the court on the motion for an extension of time by defendant Maria
Elena Macias-Rios (Macias-Rios) (Filing No. 25). Macias-Rios seeks an additional thirty days in
which to file pretrial motions in accordance with the progression order. Macias-Rios's counsel
represents that Macias-Rios will file an affidavit wherein she consents to the motion and
acknowledges she understands the additional time may be excludable time for the purposes of the
Speedy Trial Act. Macias-Rios's counsel represents that government's counsel has no objection
to the motion. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Macias-Rios's motion for an extension of time (Filing No. 25) is granted.
Macias-Rios is given until on or before September 18, 2015, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such motion
and outweigh the interests of the public and the defendant in a speedy trial. The additional time
arising as a result of the granting of the motion, i.e., the time between August 14, 2015, and

September 18, 2015, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 14th day of August, 2015.
                                                       BY THE COURT:

                                                       s/ Thomas D. Thalken
                                                       United States Magistrate Judge
